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   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-0125 GEB
11
                                  Plaintiff,              STIPULATION AND PROTECTIVE ORDER
12                                                        REGARDING DISSEMINATION OF DISCOVERY
                            v.                            DOCUMENTS CONTAINING PERSONAL
13                                                        IDENTIFICATION INFORMATION
     BENJAMIN MACIAS,
14
                                  Defendant.
15

16

17          IT IS HEREBY STIPULATED AND AGREED among the parties and their respective counsel,

18 Paul Hemesath, Assistant United States Attorney, on behalf of the government, and Jan Karowsky, on

19 behalf of defendant BENJAMIN MACIAS, that certain information, as defined below, is subject to a

20 Protective Order.

21          The parties agree that certain discovery in this case is particularly sensitive because it could tend

22 to reveal law enforcement information (“Law Enforcement Sensitive Information”). Law Enforcement

23 Sensitive Information is distinct from other discovery subject to a previous protective order (covering

24 Personally Identifiable Information) that was signed by this Court on September 28, 2017. Dkt. No. 84.

25          The parties further agree that the U.S. Attorney’s Office may designate information as Law

26 Enforcement Sensitive Information by transmitting such information to defense counsel via encrypted

27 email and identifying it as such. As of the date of this stipulation, Law Enforcement Sensitive

28 Information is expected to be extremely limited in volume and scope.


      STIPULATION AND [PROPOSED] ORDER                    1
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 1         By signing this Stipulation and Protective Order, defense counsel agrees not to share any Law
 2 Enforcement Sensitive Information to any person, including the defendant, without leave from the U.S.

 3 Attorney’s Office or this Court. Defense counsel may object to the designation of any information as

 4 Law Enforcement Sensitive Information by applying to this Court.

 5         In the event that any defendant substitutes counsel, the undersigned attorney agrees to withhold
 6 information including Law Enforcement Sensitive Information from new counsel until such time as

 7 substituted counsel agrees to be bound by this Protective Order.

 8

 9 Dated: November 9, 2017                                 PHILLIP A. TALBERT
                                                           United States Attorney
10

11                                                         /s/ PAUL HEMESATH
                                                           PAUL HEMESATH
12                                                         Assistant United States Attorney
13

14 Dated: November 9, 2017                                 /s/ JAN KAROWSKY
                                                           JAN KAROWSKY
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                                                           Counsel for Defendant
16                                                         BENJAMIN MACIAS

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      STIPULATION AND [PROPOSED] ORDER                 2
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 1                                         FINDINGS AND ORDER
 2          FOR GOOD CAUSE SHOWN, pursuant to the stipulation of counsel, any information
 3 transmitted to defense counsel that is designated as Law Enforcement Sensitive Information by the U.S.

 4 Attorney’s Office shall not be transmitted to any other person, including the defendant in this case.

 5          Furthermore, in the event that defendant substitutes counsel, present defense counsel shall
 6 withhold Law Enforcement Sensitive Information until such time as substitute counsel has agreed to be

 7 bound by this Protective Order.

 8          IT IS SO ORDERED.
 9 Dated: November 9, 2017

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      STIPULATION AND [PROPOSED] ORDER                  3
